                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
_______________________________________
                                        )
UNITED STATES OF AMERICA                )  Docket No. 5:15-cr-73-RLV
                                        )
            v.                          )
                                        )
(5) RITCHIE ALLEN SHOOK                 )  ORDER
_______________________________________ )



       This matter is before the Court on the Motion of the United States of America to dismiss

the charges against Defendant Ritchie Allen Shook in the Bill of Indictment in the above-captioned

case without prejudice.

       It is hereby ordered that the motion be GRANTED and the charges against Defendant

Ritchie Allen Shook in the above-captioned Bill of Indictment be dismissed without prejudice.




 Signed: March 14, 2016




    Case 5:15-cr-00073-KDB-DCK           Document 122        Filed 03/14/16      Page 1 of 1
